Case 9:23-cr-80101-AMC Document 290 Entered on FLSD Docket 02/08/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                       NOTICE OF FILING

         The Government hereby gives notice that it has filed the Government’s Classified Ex Parte,

  In Camera, Under Seal Supplement to Motions for an Order Pursuant to CIPA Section 4 and Fed.

  R. Crim. P. 16(d)(1) with the Court by delivering it to the Classified Information Security Officer

  (“CISO”) in Fort Pierce, Florida on February 8, 2024. An unclassified cover sheet for the

  Supplement is attached hereto.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel

                                        By:    /s/ Julie A. Edelstein____________
                                               Jay I. Bratt, Counselor to the Special Counsel
                                               Julie A. Edelstein, Senior Assistant Special Counsel
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Case 9:23-cr-80101-AMC Document 290 Entered on FLSD Docket 02/08/2024 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I certify that on February 8, 2024, I electronically filed the foregoing document with the

  Clerk of Court using CM/ECF.


                                             /s/ Julie A. Edelstein______
                                             Julie A. Edelstein




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